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                      UNITED STATES COURT OF APPEALS
                                                                       FILED
                             FOR THE NINTH CIRCUIT
                                                                      AUG 23 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




   JAMES MILLER; et al.,                         No. 21-55608

                 Plaintiffs - Appellees,
                                                 D.C. No. 3:19-cv-01537-BEN-JLB
     v.                                          U.S. District Court for Southern
                                                 California, San Diego
   ROB BONTA, in his official capacity as
   Attorney General of the State of              MANDATE
   California and LUIS LOPEZ, in his
   official capacity as Director of the
   Department of Justice Bureau of
   Firearms,

                 Defendants - Appellants.


          The judgment of this Court, entered August 01, 2022, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: David J. Vignol
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
Case 3:19-cv-01537-BEN-JLB Document 133 Filed 08/30/22 PageID.10962 Page 2 of 2




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                                                                         U.S. COURT OF APPEALS
  JAMES MILLER; et al.,                           No. 21-55608

                  Plaintiffs-Appellees,           D.C. No. 3:19-cv-01537-BEN-JLB
                                                  Southern District of California,
   v.                                             San Diego

  ROB BONTA, in his official capacity as       ORDER
  Attorney General of the State of California;
  LUIS LOPEZ, in his official capacity as
  Director of the Department of Justice Bureau
  of Firearms,

                  Defendants-Appellants.

  Before: SILVERMAN, NGUYEN, and R. NELSON, Circuit Judges.

        Appellants’ motion to vacate the judgment challenged in this appeal and to

  remand for further proceedings (Docket Entry No. 22) is granted.

        The district court’s June 4, 2021 order and judgment are vacated. This case

  is remanded to the district court for further proceedings consistent with the United

  States Supreme Court’s decision in New York State Rifle & Pistol Ass’n, Inc. v.

  Bruen, 597 U.S. ____ (2022).

        All other pending motions are denied as moot.

        VACATED and REMANDED.




  LCC/MOATT
